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Selendy Gay Elsberg PLLC
1290 Avenue of the Americas
New York NY 10104
212.390.9000



Jordan Goldstein
Partner
212.390.9008
jgoldstein@selendygay.com




August 7, 2023


ViaECF

Hon. James Donato
U.S. District Court for the Northern District of California
San Francisco Courthouse, Courtroom 11, 19th Floor
450 Golden Gate Avenue
San Francisco, CA 94102

Re:      Valenti, etal. v. Dfinity USAResearchLLC, etal., No. 3:21-cv-
         06118-JD (N.D. Cal.)

Dear Judge Donato:

       We write in response to the Court's order of May 8, 2023 in the above-
referenced action (the "Action") that disqualified Lead Counsel Roche Freedman
LLP and directed Lead Plaintiff Henry Rodriguez to propose alternate Lead
Counsel by August 7, 2023. ECF No. 117.

       Mr. Rodriguez has retained Selendy Gay Elsberg PLLC ("SGE") to represent
him in this Action as lead counsel. 1 Consistent with SGE's obligations under Fed.
R. Civ. P. 11, SGE is in the process of conducting a factual investigation to
determine whether it will seek leave from the Court to modify any of the allegations
in the Amended Complaint (ECF No. 45) and/ or any of the arguments in Plaintiffs'
Memorandum of Law in Opposition to Defendants' Motion to Dismiss (ECF No.
65), and will be prepared to discuss this at the scheduled status conference on
August 17, 2023, as well as any other matters the Court wishes to address. With the
assent of plaintiffs, SGE has retained the law firm of Erickson Kramer Osborne
LLP to act as local counsel.




1 Named plaintiff Daniel Valenti has likewise retained SGE to represent him in the Action.
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Respectfully,

~~
Jordan A Goldstein

cc:     All counsel of record (by ECF)




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1                                                  ATTESTATION
2             I, Elizabeth Kramer hereby attest that I have on file all holographic signatures
3    corresponding to any signatures indicated by a conformed signature (/S/) within this e-filed
4    document.
5

6    Dated this 7th day of August 2023.           ____________________________________________
                                                  Elizabeth Kramer
7
                                                  Attorneys for Plaintiffs
8                                                 Daniel Valenti and Henry Rodriguez

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     Valenti v. Dfinity USA Research LLC, et al.                                         Case No. 3:21-cv-06118-JD
                                    Letter to the Court from Attorney Jordan Goldstein
